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        MEALEY’S LITIGATION REPORT


        Asbestos
                 The Consolidation Effect: New York City Asbestos
                 Verdicts, Due Process And Judicial Efficiency


                 by
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                 Washington, DC




                                                              A commentary article
                                                                 reprinted from the
                                                              May 6, 2015 issue of
                                                                 Mealey’s Litigation
                                                                   Report: Asbestos
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   Commentary

   The Consolidation Effect: New York City Asbestos Verdicts, Due
   Process And Judicial Efficiency
   By
   Peggy L. Ableman,
   Peter R. Kelso
   and
   Marc C. Scarcella

   [Editor’s Note: Peggy L. Ableman is a former Delaware        over concepts of fundamental fairness and the right to
   Superior Court Judge and now Special Counsel at McCar-       an impartial trial. Whatever beneﬁts to the NYCAL
   ter & English, LLP in Wilmington, Delaware. Peter R.         judiciary that has been derived from consolidation has
   Kelso, Manager, and Marc C. Scarcella, Principal, are        come at a greater price than the numbers and charts can
   from the Washington, DC ofﬁce of Bates White Economic        adequately measure.
   Consulting. The views of the authors do not reﬂect the
   opinions of McCarter & English, LLP or Bates White Eco-      As the following commentary demonstrates, the
   nomic Consulting or LexisNexis, Mealey’s. Copyright #        NYCAL Court’s effort to manage a docket of asbestos
   2015 by Peggy L. Ableman, Peter R. Kelso and Marc C.         cases by the use of ‘‘innovative’’ trial aggregations has
   Scarcella. Responses are welcome.]                           resulted in high-value verdicts that are more than three
                                                                times the national average. It is no longer just a matter
   Introduction                                                 of conjecture or speculation. The charts prepared for
   The following commentary provides empirical evidence         this commentary demonstrate that the practice of con-
   of how pronounced an impact the consolidation of             solidating asbestos cases for trial has had such an inher-
   asbestos cases has had upon the verdicts in the New          ently inequitable effect as to deprive defendants of a fair
   York City Asbestos Litigation (‘‘NYCAL’’).1 The pro-         trial and due process.
   liferation of case consolidations as the judicial response
   to burgeoning caseloads in NYCAL, with an emphasis           Summary of Analysis
   on expediency and case management, has led to inequi-        On July 24, 2013, a jury in a consolidated trial in
   table outcomes, which in turn have raised concerns over      NYCAL returned a verdict of $190 million on behalf
   violations of defendant due process. The NYCAL data          of ﬁve asbestos plaintiffs. The award is believed to be
   suggests that consolidated trial settings create adminis-    the largest verdict of its kind in U.S. history and is just
   trative and jury biases that result in an artiﬁcially        one of several large jury awards in NYCAL consolidated
   inﬂated frequency of plaintiff verdicts at abnormally        trials since 2010. In fact, from 2010 through 2014,
   large amounts. The existence of such biases has been         NYCAL jury awards in consolidated trials have totaled
   validated by an extensive body of scientiﬁc and aca-         a staggering $324.5 million across 14 plaintiffs for an
   demic research, and has been shown to yield trial out-       average of more than $23 million. These consolidated
   comes that undermine the broader settlement process.         verdicts are 250% more per plaintiff than NYCAL
   In short, the statistics do more than demonstrate the        awards in individual trial settings over that same span,
   inﬂated amounts of damages that result when cases are        and 315% more per plaintiff than the national average
   combined. They also suggest that considerations of           award.2 Moreover, the jury bias caused by consolida-
   convenience and economy have apparently triumphed            tion has also increased the frequency of plaintiff


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victories in cases that go to verdict. Since 2010, 88% of       additional jury awards getting vacated on appeal.4 In
plaintiffs (14 of 16) in NYCAL consolidated verdicts            contrast, since 2010 none of the four plaintiff verdicts
received jury awards, as compared to 50% of plaintiffs          awarded in NYCAL individual trials have been
(4 of 8) in NYCAL individual trials, and approximately          remitted, with remittitur still pending in one case.
60% nationwide.3 Figure 1 summarizes jury awards
from NYCAL consolidated and individual trials as                Such a pattern of inequity in NYCAL consolidated
compared to Non-NYCAL national awards.                          trials is clearly inefﬁcient, and the post-trial attorney
                                                                and judicial resources required to correct these initial
It has been a common misconception in recent years by           outcomes erases any judicial economy that consolidated
the NYCAL judiciary that the consolidation of cases             trial settings were intended to achieve. Moreover, while
into group trial settings is efﬁcient in terms of judicial      the remittitur process may correct for outlier jury
economy. However, too often the term ‘‘efﬁcient’’ is            awards, it does not correct for the aforementioned rate
mistakenly used synonymously with ‘‘expedient’’                 of plaintiff victory, which appears to be inﬂated in
when describing the effectiveness of a process or set           NYCAL consolidated trials. As illustrated in Figure 2,
of outcomes. In reality, efﬁciency is not just about            the average remitted plaintiff award in a NYCAL con-
speed, but also about equity. In the case of the $190           solidated trial is actually lower than the average plaintiff
million jury award, there is little evidence that this result   award received in either NYCAL individual trials or
was equitable, and the courts agreed as the verdict             those adjudicated in Non-NYCAL jurisdictions; how-
amount was eventually reduced on remittitur to just             ever, the risk-adjusted average award (i.e., including
under $30 million. In fact, 10 of the 14 NYCAL con-             defense verdicts and the two plaintiff awards vacated
solidated plaintiff awards since 2010 have been reduced         on appeal) is still higher in NYCAL consolidated trials
on remittitur by an average of nearly 75%, with two             due to the inﬂated rate of plaintiff verdicts.
Figure 1: NYCAL mesothelioma jury awards to non-NYCAL jury awards (2010-2014)




Figure 2: NYCAL mesothelioma verdicts compared to non-NYCAL verdicts post-remittitur or
appeal (2010-2014)




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   Below we examine these issues by studying recent cases        Today, however, NYCAL lags other courts in terms of
   that were tried to verdict in NYCAL based on publically       its administrative procedures and appears to be operat-
   available data as well as the procedures that are in place    ing on principles that apply to litigation standards of
   governing the consolidation of cases. We will demon-          decades ago. Despite other courts around the nation
   strate that the practice of consolidation in NYCAL            going away from practices such as consolidation and
   leads to (1) ‘‘runaway’’ jury verdicts that are multiples     the consideration of punitive damages, NYCAL cur-
   of the national average, (2) a bias against defendants        rently administers its docket with both of those prac-
   when plaintiffs are grouped together in consolidated          tices in place, despite evidence that the application of
   trial settings, (3) violations of legal due process, and      each procedure has made NYCAL an outlier. In 2015,
   (4) an unnecessary (and unsuccessful) attempt to pre-         NYCAL operates under an amended 1996 Case Man-
   serve judicial time and resources.                            agement Order (‘‘CMO’’) that establishes the adminis-
                                                                 trative and operating procedures of the court.7 The
   NYCAL                                                         current trial court justices presiding over NYCAL’s
   NYCAL has been a prominent asbestos jurisdiction for          docket include Justices Martin Shulman, Joan Mad-
   the greater part of the 40-plus year history of asbestos      den, Barbara Jaffe, George J. Silver and Cynthia
   litigation. The judges that have presided over the            Kern.8 Most recently on March 2, 2015, long-standing
   NYCAL docket have witnessed many seminal changes              NYCAL Administrative Judge Sherry Klein Heitler was
   in the litigation, including the non-malignant wave of        reassigned and replaced by incoming judge Peter H.
   unimpaired asbestos claims in the 1990s-2000s, the            Moulton.9
   bankruptcy reorganization of more than 100 asbestos
   defendants, and most recently an increase in lung can-        In terms of docket activity, claim ﬁlings in NYCAL
   cer ﬁlings. Historically, NYCAL was viewed as a               have signiﬁcantly subsided from the tens of thousands
   national leader in instituting new rules to handle shifts     of unimpaired non-malignant claims that previously
   in asbestos tort litigation. NYCAL became one of the          clogged the court’s dockets.10 Following the deferral
   ﬁrst courts to institute a ‘‘ﬁrst in, ﬁrst out’’ (‘‘FIFO’’)   of those claims in the 2000s through the court’s inactive
   system of docket management to handle the waves of            docket, mesothelioma claims dominated NYCAL’s trial
   non-malignant claims that began to clog the court’s           settings through much of the latter part of the decade.
   docket in the 1990s.5 In 2002, NYCAL led the way              Most recently, however, lung cancer ﬁlings in NYCAL
   in New York by creating an inactive docket that pre-          have risen as the recruitment of those claims has
   cluded asbestos claimants from proceeding to trial until      increased though TV and internet attorney advertis-
   their alleged diseases met minimum medical criteria set       ing.11 Figure 3 shows the ﬁling rates for mesothelioma,
   forth by the court.6                                          lung cancer and other claims in NYCAL since 2004.

   Figure 3: NYCAL filings since 2004




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Figure 4: NYCAL percent filings by plaintiff law firm from 2011 through 2014




Traditionally, the ﬁlings in the NYCAL Court have          supreme courts and banned by statute in Texas,14 Kan-
been dominated by asbestos claimants represented by        sas15 and Georgia.16 Additionally, consolidation is not
the plaintiff law ﬁrm Weitz & Luxenberg. As Figure 4       utilized in Madison County, Il, the jurisdiction with
indicates, Weitz & Luxenberg plaintiffs still make up a    the largest number of annual asbestos ﬁlings and reso-
majority of the ﬁlings in NYCAL, representing more         lutions, and is sharply limited in other prominent asbes-
than half of all mesothelioma claims and nearly three-     tos jurisdictions such as Delaware,17 San Francisco,18
quarters of lung cancer ﬁlings in recent years.            Baltimore19 and Philadelphia.20

NYCAL Consolidation                                        In NYCAL, consolidation began in the 1990s with
The consolidation of cases in NYCAL, and in asbestos       the grouping of cases involving workers from the
litigation in general, is not a new phenomenon. The        Brooklyn Naval Shipyard.21 At the time, this and
practice primarily began in the 1990s due to the inﬂux     other early consolidations by the court may have been
of tens of thousands of unimpaired, non-malignant          better reasoned as the plaintiffs were allegedly ex-
claims and sought to stem the tide of asbestos claim       posed at the exact same site, with similar diseases, occu-
ﬁlings by resolving the cases collectively. However, as    pations and dates of employment. The consolidations
the claims continued to mount, the mass and mini-          similarly involved a group of like-defendants, most of
consolidations of cases in many jurisdictions was viewed   whom were companies engaged in the manufacture
as a failure as the practice only seemed to invite more    and/or distribution of thermal insulation asbestos-
case ﬁlings, a greater number of tenuous claims, and       containing products. In these early consolidations,
produced outcomes that were inconsistent with tradi-       both plaintiffs and defendants were often homogeneous
tional litigation resolution trends. In fact, most other   and while the practice was not optimal, consolidation
courts around the nation that currently handle asbestos    seemed to be efﬁcient in terms of judicial economy
personal-injury claims have gone away from case con-       given the inﬂux of cases that the court was facing at
solidation, largely in part because of due process con-    the time.
cerns and the decline of overall case ﬁlings in most
jurisdictions. Consolidation is currently restricted in    Today, however, it is questionable as to whether the
Michigan12 and Ohio13 by their respective state            practice of consolidation should continue in NYCAL


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   given the reduced number of pending cases before the               the proﬁle of plaintiffs that ﬁle lawsuits in NYCAL and
   court, the national trend of phasing out the use of                who have prevailed at trial has also shifted over time,
   consolidation, and the abnormally high verdicts that               going away from the insulators of the past to a more
   the grouping of cases in NYCAL produces. This ‘‘con-               diverse set of plaintiffs today. In turn, the assorted fact
   solidation effect’’ is summarized in Figure 5 and shows            pattern asserted by plaintiffs today against a heteroge-
   the disparity of jury awards in consolidated and indivi-           neous pool of defendants makes it increasingly difﬁcult
   dual cases in NYCAL from 2010 through 2014.                        to establish a reasonable level of commonality amongst
                                                                      cases from which consolidation is sought.
   These verdict outcomes since 2010 would suggest that
   a jury bias is created against defendants in cases that are        Procedurally, the judiciary in NYCAL consolidates
   consolidated versus those that are tried individually.             cases pursuant to Section 602(a) of the New York
   Much of the scientiﬁc and academic research in this                Civil Code. Under Section 602(a):
   area, which we will discuss below, concludes that
                                                                              When actions involving a common question of
   such biases are inherent when multiple cases are adju-
                                                                              law or fact are pending before a court, the court,
   dicated through consolidated trials. Moreover, such
                                                                              upon motion, may order a joint trial of any or
   biases in NYCAL have likely been further magniﬁed,
                                                                              all the matters in issue, may order the actions
   as the once homogonous set of litigants from decades
                                                                              consolidated, and may make such other orders
   ago has been replaced in today’s tort by a diverse set of
                                                                              concerning proceedings therein as may tend to
   defendants, representing a myriad of different product
                                                                              avoid unnecessary costs or delay.
   types and alleged exposures. The defendant naming
   patterns in lawsuits ﬁled in NYCAL since the early                 Following a motion by plaintiff counsel to consolidate
   2000s illustrate the dramatic shift of defendants that             cases under Section 602(a), NYCAL judges tradition-
   have been sued in the NYCAL Court, especially follow-              ally apply commonality factors initially set forth in a
   ing the bankruptcies of the primary thermal insulation             1983 Maryland federal court case22 and later cited in
   defendants in the early part of this century. Similarly,           1993 by the U.S. Court of Appeals for the 2nd Circuit

   Figure 5: NYCAL individual and consolidated mesothelioma jury verdicts (2010-2014)
    Verdict                            Plaintiffs @     Pre-Verdict   Plaintiff         Defense      Total Jury      Avg. Plaintiff
     Year       Lead Plaintiff         start of trial   Settlements   verdict           verdict        Award         Jury Award
     2010     DIETZ                          1                0          0                 1                  $0                $0
     2011     BENTON                         1                0          1                 0          $2,500,000       $2,500,000
     2012     ZAUGG                          1                0          0                 1                  $0                $0
     2013     VEGA                           1                0          0                 1                  $0                $0
     2014     CARLUCCI                       1                0          1                 0          $7,333,000       $7,333,000
     2014     NORTH                          1                0          1                 0          $7,000,000       $7,000,000
     2014     THIBODEAU                      1                0          0                 1                  $0                $0
     2014     HILLYER                        1                0          1                 0         $20,000,000      $20,000,000
             Total Individual Trials        8               0            4                4          $36,833,000       $9,208,250
      2011    DUMMITT                       2                0            2                0         $51,000,000      $25,500,000
      2012    PAOLINI                       2                0            0                2                  $0               $0
      2013    ASSENZIO                      5                0            5                0        $190,000,000      $38,000,000
      2013    PERAICA                       7                6            1                0         $35,000,000      $35,000,000
      2014    SWEBERG                       2                0            2                0         $25,000,000      $12,500,000
      2014    JUNI JR                       2                1            1                0         $11,000,000      $11,000,000
      2014    MCCLOSKEY                     3                0            3                0         $12,500,000       $4,166,667
         Total Consolidated Trials         23               7           14                2         $324,500,000      $23,178,571



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in Malcolm v National Gypsum Co (Malcolm).23                     beginning in 1946 and ending in 1998. Addition-
These Malcolm factors include (1) common work site;              ally, the plaintiffs ranged in age from 61 to 83 years
(2) similar occupation; (3) similar time of exposure; (4)        old. At the time of trial, two of the plaintiffs were
type of disease; (5) whether plaintiffs are living or            living and three plaintiffs were deceased.
deceased; (6) status of discovery in each case; (7)
whether all plaintiffs are represented by the same coun-        In the Dummitt consolidated trial, the two plain-
sel; and (8) type of cancer alleged. Although the con-           tiffs had different occupations, sites of exposure,
solidation of NYCAL cases is not exclusively predicated          alleged product exposures and types of cancer.
on these criteria, Malcolm is highly inﬂuential and the          Ronald Dummit was a ﬁreman, shipﬁtter and
factors are ‘‘guidelines’’ that NYCAL judges follow and          boiler technician and alleged exposures to asbestos
consistently cite in consolidation orders. However, an           insulation and related products on board ships
examination of the cases consolidated in NYCAL from              and at shipyards during his service in the U.S.
2010 through 2014 shows that in many instances it                Navy. Dummit, 67, was diagnosed with mesothe-
appears that the judges who cited these criteria often           lioma of the pleura and alive at the time of the
failed to adhere to these factors in any systematic way.         trial. David Konstantin, 55, worked as an atten-
Similarly, it appears that the judiciary ignored other           dant/helper at a gas station and later as a construc-
unique aspects of the individual cases that may have             tion laborer. Konstantin alleged exposures to a
led to jury confusion and a potential bias against               different array of asbestos products including
defendants.                                                      joint compound, ﬂoor and ceiling tiles, and wall-
                                                                 paper. Konstantin was diagnosed with testicular
For example, in the seven consolidated trials in                 mesothelioma.
NYCAL since 2010, four involved trials that included
both living and deceased plaintiffs.24 Similarly, there      As illustrated by the facts of the cases in Assenzio
doesn’t appear to be a high degree of commonality            and Dummitt, the consolidations failed to follow the
under Malcolm in the application of the ‘‘similar            commonality factors cited by the NYCAL judiciary in
time of exposure’’ criterion across the consolidated         terms of occupation, work site, and time of exposure, as
claimants. The average collective time of exposure           well as type of cancer in Dummitt. Moreover, the con-
in the consolidated trials spanned more than 30 years        solidation process in Assenzio ignored the life status
of alleged exposure with some plaintiffs exposed             of each plaintiff at time of trial. As the data summarized
decades earlier or later than their trial counterparts. A    in Figure 6 show, the life status of a plaintiff at trial
closer examination of the underlying facts of the indi-      can have an emotional inﬂuence on jury awards, with
vidual NYCAL cases that were consolidated reveals            NYCAL plaintiffs living at the time of trial receive
multitudes of other inconsistencies among the plaintiffs     more than double the average award than NYCAL
that collectively fail to satisfy the Malcolm prongs         plaintiffs not living at the time of trial. Similarly, the
of commonality cited by the NYCAL judiciary. For             Non-NYCAL national average when punitive portions
instance:                                                    are included is more than double for plaintiffs that
                                                             are living at trial. However, in both instances, when
   In the Assenzio consolidated trial, the ﬁve plaintiffs   the averages include those awards that are reconsi-
    worked at hundreds of uncommon work sites,               dered on appeal or remittitur, not only are the overall
    both commercial and residential, and had a variety       awards reduced, but the emotional inﬂuence of
    of occupations including plumber, steamﬁtter,            life status is signiﬁcantly diminished as plaintiffs liv-
    painter, boilermaker and laborer. Two of the ﬁve         ing at the time of trial are no longer awarded such a
    plaintiffs alleged exposure to thermal insulation        premium.
    materials while working on U.S. naval ships at
    the Norfolk and Brooklyn naval shipyards while           Although the emotional inﬂuence of life status appears
    the other three plaintiffs alleged exposures to          to be muted during the appeal or remittitur process, the
    ﬂoor tiles, hot water heaters, HVACs and other           initial impact on jury awards does pose an increased trial
    related products while working primarily at resi-        risk for defendants. This risk can have a residual impact
    dential sites. The time range of alleged exposure        on plaintiffs not living at the time of trial when such
    was substantial and extended over 50 years,              plaintiffs are consolidated with a lead or target plaintiff


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     Figure 6: Average mesothelioma plaintiff awards by life status (2010-2014)




   that is still living. Moreover, such a risk can rise expo-      jury behavior. This notion is supported by longstanding
   nentially when juries consider punitive damages for             published scientiﬁc studies and literature by leading
   plaintiffs in a consolidated setting, as they are now           social psychologists and economists, and cited by pro-
   allowed to do in NYCAL.                                         minent jurists.26 These experts have published numer-
                                                                   ous peer-reviewed studies based on controlled
   In addition to the demographics of the plaintiffs in a          experiments that statistically prove that the consolida-
   consolidated trial, the characteristics of multiple defen-      tion of personal-injury tort plaintiffs, and speciﬁcally
   dants also play a role in the ability of juries to distin-      asbestos plaintiffs, into a single action confuses juries
   guish the fact patterns of different cases in a                 and creates a bias against defendants.
   consolidated setting. In NYCAL, each recent consoli-
   dation introduced multiple defendants and products              According to a study published by Oregon psychology
   into those trials that would have otherwise been                and law professor Dr. Irwin Horowitz, in which he
   unknown to the jury had the cases been tried on an              analyzed juror behavior in a controlled setting for con-
   individual basis. The addition of so many dissimilar            solidated and individual trials, the ‘‘mere’’ practice of
   products from different occupations and times of expo-          consolidation makes it signiﬁcantly more likely on a
   sure raises questions as to a jury’s capability to differ-      statistical basis that a jury will ﬁnd for the plaintiff
   entiate the facts of each case from one another and             and render a higher award than if the cases were tried
   render decisions appropriately.25 The disparity in the          individually.27 Horowitz also found that the strength of
   value of awards between plaintiffs in NYCAL consoli-            any one of the consolidated cases can improve the value
   dated and individual trials, as well as the rate of plaintiff   of the other cases by the process of grouping the allega-
   victories in NYCAL consolidated trial settings, illus-          tions together. According to Dr. Horowitz:
   trates that a prejudice against NYCAL trial defendants              ‘‘Juries’ awards exhibited a highly signiﬁcant
   is created during a consolidated trial despite whatever             ‘‘aggregation’’ bias when the ‘‘target’’ plaintiff
   jury instructions, notebooks or other court devices are             was joined with more than one other plaintiff.
   put in place to guard against confusion and bias.                   That is, each individual plaintiff in a three
                                                                       plaintiff trial received average awards signiﬁ-
   Consolidation and Jury Bias                                         cantly greater than plaintiffs in one or two
   As evidenced by the NYCAL verdict outcomes, the                     person trials. These awards were 3 and 4
   practice of consolidation appears to have impacted                  times larger than those found in single plaintiff


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    trials. The aggregation effect of 3-4 plaintiffs is        Consolidation of Cases is a Manifest Denial of
    not unique. Research in other areas has shown              Due Process
    that people have difﬁculty distinguishing among            In the civil justice system, nothing is more paramount
    four or more objects of any kind.’’28                      than the principle of due process and the right of indi-
                                                               viduals to a fair and impartial trial by a jury of their
Horowitz’s body of work is supported by other aca-             peers. This tenet is the cornerstone of the US legal
demic studies examining the effect that consolidation          system and a principle that cannot be compromised.
has on jury behavior and juror decisions in allocating         The Fourteenth Amendment to the United States
liability and awarding damages. In controlled studies          Constitution mandates that no person be deprived
looking at jury behavior in individual and consolidated        ‘‘of life, liberty, or property, without due process of
cases exclusive to just asbestos claimants, San Diego          law.’’30 This provision of the Fourteenth Amendment,
University economics professor Dr. Michelle White              commonly known as the due process clause, includes
similarly found that consolidation creates a pro-plaintiff     the right to a ‘‘fair trial’’ as a fundamental liberty.
bias in the jury’s consideration of damages. White also        Indeed, so basic to our jurisprudence is the right to a
found that judges who offer the ‘‘innovation’’ of con-         fair trial that it has been called ‘‘the most fundamental of
solidation as a means to encourage settlement only             all freedoms.’’31 Article 1, Section 6 of the New York
invite more claims to the court because when claims            State Constitution mirrors the Fourteenth Amend-
are settled on terms favorable for the plaintiff, the plain-   ment’s due process guarantee of life, liberty, or property
tiff has an economic incentive to ﬁle more claims in the       without due process of law, which necessarily includes
                                                               the right to a fair trial.32
court where the ‘‘innovation’’ is in place. According to
Dr. White:
                                                               The Uniform Rules of Court and Civil Practice Law &
    ‘‘Because of the large numbers of claims ﬁled in           Rules were designed and enacted by the New York
    particular courts, judges in these courts adopt            Legislature to provide due process to litigants. They
    procedural innovations that are intended to                speak to the importance of providing a neutral, depend-
    reduce trial time and encourage large numbers              able and fair judicial process that complies with the
    of cases to settle. These procedural innovations           mandates of both the Constitutions of the United
    also change trial outcomes in a pro-plaintiff              States of America and the State of New York. But
    direction. But when large numbers of asbestos              employing these rules, speciﬁcally C.P.L.R. Section
    claims are settled on favorable terms for plain-           602, to join asbestos cases for trial in order to reduce
    tiffs, then plaintiffs’ lawyers ﬁnd it proﬁtable to        a backlog of old cases under the guise of efﬁciency and
    ﬁle additional claims in the same courts. This             judicial economy has now been demonstrated em-
    worsens the gridlock and pressures the judge to            pirically to deprive defendants of their due process
    continue using the innovations.’’29                        rights guaranteed by the Constitutions of the United
                                                               States and the State of New York. For instance, the
Based on the disparity of results in the consolidated and
                                                               rule was never intended as a means to join dissimilar
individual trials in NYCAL, it would appear that the
                                                               actions together so as to provide greater negotiation
scientiﬁc studies on consolidated trial bias are applicable
                                                               and trial leverage to one party, any more than it
to the recent jury behavior in the NYCAL court. The
                                                               would be deemed acceptable to join dissimilar matters
ﬁndings may also explain, given the court’s continued
                                                               in other areas of the law such as medical malpractice or
‘‘innovation’’ of consolidation, the economic incentives
                                                               automobile accident cases, simply because there is com-
behind why NYCAL remains such a prominent juris-
                                                               monality in the burden of proof or standard of care
diction for plaintiffs to bring their cases. At the very
                                                               inquiries.
least, the questions regarding consolidation’s effect on
jury behavior should prompt consideration by the New
                                                               Indeed, ‘‘The beneﬁts of efﬁciency can never be pur-
York judiciary and legislature to examine the issue to
                                                               chased at the cost of fairness.’’33 As the Second Circuit
ensure that NYCAL’s consolidation practice isn’t tip-
                                                               has cautioned:
ping the scales of justice in one party’s favor while
infringing on the constitutional due process rights of             The systemic urge to aggregate litigation must
other litigants.                                                   not be allowed to trump our dedication to


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       individual justice, and we must take care that               by the Court to assure that each case maintained its
       each individual plaintiff’s – and defendant’s –              identity, the mountain of information presented in
       cause not be lost in the shadow of the towering              the case, with 48 plaintiffs, 25 direct defendants,
       mass of litigation.                                          numerous third-and fourth-party defendants, evidence
                                                                    regarding culpable non-parties, and over 250 worksites
   As empirical evidence of the consolidations in the cases
                                                                    was likely to lead to juror confusion. The Court con-
   described herein has shown, the NYCAL Court’s desire             cluded that the equal apportionment of plaintiff
   for expediency and convenience has had a serious                 damages was sufﬁciently unusual in light of the evi-
   impact on what should be its paramount concern of                dence to demonstrate jury confusion.38
   providing a fair and impartial trial for all litigants.34 ‘‘Of
   all the discretionary rulings that a judge can make con-         The Malcolm Court addressed the foremost concern in
   cerning the course of a trial, few are as pervasively pre-       consolidation, which is the importance of providing a
   judicial to a product liability defendant as deciding to         fair and impartial trial to all litigants. To strike the
   consolidate cases if they bear little similarity other than      appropriate balance, the NYCAL Court allegedly has
   that the same product resulted in an alleged injury in           used the criteria cited in Malcolm as a guideline in
   each case.’’35                                                   determining whether to consolidate asbestos cases.
                                                                    Focusing on only a handful of the criteria established
   One of the primary concerns leading to unfairness in             in Malcolm, it is not at all difﬁcult to appreciate the
   the consolidation of these cases is juror confusion.             effects of aggregation from the perspective of a jury. It is
   Defendants themselves, or even their lawyers, should             also understandable why NYCAL verdicts have been
   not be required to sift through a myriad of separate             inﬂated in comparison to those in other jurisdictions
   claims, parties, fact witnesses, expert witnesses and            where individual justice is the norm.
   trial testimony to parse out the limited materials related
   to their individual claims and defenses in the hopes that        Aside from the overwhelming mass of information and
   jurors will be capable of keeping them straight. As dif-         the impossible task of keeping the facts of each plain-
   ﬁcult as it is for an unsuspecting jury to track the spe-        tiff’s case separate and distinguishable, the signiﬁcant
   ciﬁc details required to evaluate the complex liability          prejudice resulting from lumping together different
   and damages issues in even one matter, the task of               types of diseases cannot be underestimated. When
   doing so for separate claims involving multiple defen-           plaintiffs suffer from the same disease, the judicial econ-
   dants is even more daunting.                                     omy derived by not rehashing the etiology and pathol-
                                                                    ogy of the particular disease will be substantial, with
   The impact of jury confusion that is created by a ‘‘mael-        minimal prejudice to the defendants. But when a jury is
   strom of facts, ﬁgures, and witnesses’’ can neither be           required to assimilate testimony about two or more
   ignored nor taken lightly. In Malcolm, the Second Cir-           different diseases, the results can be highly prejudicial
   cuit remanded for new trials 48 separate cases that had          to defendants. The Dummitt consolidation is a prime
   been consolidated. The Court explained that during the           example of a NYCAL jury being asked to evaluate the
   liability portion of the trial, ‘‘the jury was presented with    medicine and science between two distinct types of
   a dizzying amount of evidence regarding each victim’s            cancer as one plaintiff was diagnosed with mesothe-
   work history,’’36 and ‘‘the cosmic sweep of the factual          lioma of the pleura while the other was diagnosed
   data that the jury had to absorb’’ compromised the               with testicular mesothelioma. Moreover, any judicial
   fundamental fairness of the process. Despite the mea-            economy that consolidation was intended to achieve
   sures taken by the Court to assure each case maintained          by grouping two ‘‘mesothelioma’’ cases together was
   its own identity, ‘‘the sheer breadth of the evidence            erased by the fact that each case and distinct disease
   made these precautions feckless in preventing jury               mandated a much different set of medical and scientiﬁc
   confusion.’’37                                                   experts and testimony.

   In Malcolm, the jury had apportioned the liability for           The impact of juror confusion, as well as the bolstering
   plaintiff’s damages equally among each of the defen-             effect of pairing plaintiffs with different diseases or
   dants, corporations, and related individuals, including          those living with those who are deceased, along with
   appellant corporations. Despite the precautions taken            the other Malcolm factors in a consolidated trial, are


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not the only concerns that threaten the right to due             dismissed a petition for mandamus when the peti-
process and fair trial. As experienced trial judges are          tioners failed to establish that disaggregation was a
fully aware, when a court consolidates multiple cases            clear and speciﬁc legal right, Justice Lemons best
for trial, even the duration of the trial presents its own       described through analogy the risks of the consolidation
due process concerns. When potential jurors are                  of asbestos cases:
advised that a trial will take six to eight weeks, or                Legal literature and appellate opinions are
months, or even longer, rather than the typical one-                 replete with examples of trial processes in asbes-
or two-week civil jury trial, the potential jury pool itself         tos litigation that take so long that some
is transformed by a ‘‘thinning of the herd.’’ It is impos-           plaintiffs die before they might have beneﬁted
sible to ignore the fact that a large number of in-                  from an award. Defendants ‘‘die’’ as well, as
dividuals who have responsible jobs or who attend                    evidenced by bankruptcies involving corpora-
college or graduate school are unable to serve for such              tions sued in asbestos litigation nationwide.
an extensive period of time. While jury selection should             Where both plaintiffs and defendants oppose
result in a jury that is truly representative of a fair cross-       the consolidation, shall we wait for years for
section of the community, the hope of obtaining one                  this litigation to result in an appeal that will
under these circumstances is lost. Once again, the due               most likely result in reversal and retrial? Here,
process rights of defendants, including the right to a               the square peg of complex litigation is being
jury of one’s peers, cannot be guaranteed when entire                forced into the round hole of expediency. The
segments of a community will be unable to serve.                     splinters that are ﬂying are the statutory and
                                                                     Constitutional rights of both plaintiffs and
Not to be ignored is the less apparent but equally harm-             defendants to a fair process for the adjudication
ful effects upon the due process rights of defendants                of their claims.43
who are frequently left with no viable choice but to
                                                                 NYCAL’s practice of ‘‘bundling’’ asbestos-related cases
settle the case rather than risk a jackpot verdict. From
                                                                 for settlement or trial despite the vast disparities
a trial judge’s perspective, the prospect that consolida-
                                                                 between them has been shown to have none of the
tion may encourage the settlement of a sizeable portion
                                                                 positive results originally intended. The ‘‘square peg’’
of a heavy caseload is tempting indeed, especially in
                                                                 has been shown only to confound juries and when
jurisdictions with an emphasis on the speedy disposi-
                                                                 forced into the ‘‘round hole,’’ consolidation impedes
tion of dockets. When leverage is applied to force defen-        rather than promotes judicial economy, and seriously
dants to settle weak or meritless cases, or pay inﬂated          compromises the due process rights of the parties.
amounts to settle stronger cases, it is inevitable that
plaintiffs will ﬂock to take advantage of this circum-           Consolidation Has Made NYCAL an Outlier
stance.39 What is more, exaggerated or unjustiﬁed pay-           Proponents of the current NYCAL consolidation pro-
ments to earlier ﬁling claimants could threaten                  cess may argue that there are other, non-procedural
recoveries by future deserving claimants. Even small             factors that justify the relatively high frequency and
scale consolidations in NYCAL ‘‘signiﬁcantly improve             value of NYCAL consolidated jury awards. In an
outcomes for plaintiffs.’’40                                     asbestos personal-injury trial, components such as
                                                                 plaintiff’s age, and life status, as well as broader jurisdic-
Furthermore, consolidation can bolster weak or novel             tional characteristics can inﬂuence the rationale of a
claims, because jurors are likely to assume that if multi-       jury’s ﬁnding of fault and the amount of damages
ple plaintiffs allege injuries from a particular product,        that they assess against culpable parties. To ensure
then the claims must have merit, even when they lack             that these factors were not individually or collectively
objective support. Jurors may also have difﬁculty differ-        the cause for the difference in NYCAL consolidated
entiating asbestos products with different ﬁber types            trial verdicts in any systematic manner, we examined
and potencies, thereby lumping them all together as              these factors for NYCAL verdicts versus verdicts in
just ‘‘asbestos.’’41                                             other jurisdictions around the country. Additionally,
                                                                 to test whether the premium NYCAL asbestos plaintiffs
In a forceful dissent in the Virginia Supreme Court case         receive at verdict relative to the rest of the county was
of In re Hopeman Brothers, Inc.,42 in which the majority         restricted to just asbestos cases, we compared verdict


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   data from New York County to national verdicts in             plaintiffs receiving jury awards in NYCAL consolidated
   non-asbestos wrongful death cases.                            trials since 2010 had an average age of 70.4 years, as
                                                                 compared to 71.3 years on average across the 4 plaintiffs
   Age                                                           receiving jury awards in NYCAL individual trials, and
   During trial, juries are asked to consider the facts of       68.4 years on average from plaintiff awards in Non-
   the case and determine compensatory damages based             NYCAL jurisdictions.45
   on economic and non-economic factors. The economic
   factors are fairly easy to identify and typically calculate   That is not to say that in certain instances age may not
   how much income will be lost over time due to injury,         have been a contributing factor in raising the value of
   medical bills, loss of consortium and further damages         the awards for plaintiffs in the NYCAL consolidated
   calculations if there are dependants. The non-economic        trials. For example, in Assenzio there were three plain-
   factors, however, are left open to more interpretation by     tiffs over the age of 80 that were consolidated with a
   the jury and include pain and suffering, physical             fourth plaintiff in his 70s and a ﬁfth plaintiff who was
   impairment and other non-pecuniary injury. Tradi-             only 61-years old when he testiﬁed at trial. The fact that
   tionally in asbestos litigation, a principal factor that      the three plaintiffs in their 80s each received jury awards
   inﬂuences the value of both the economic and non-             of $20 million, $30 million, and $60 million respec-
   economic portions of jury awards has been the age of          tively is indicative that age (and life-status) of the ‘‘tar-
                                                                 get’’ plaintiff played a role in escalating the verdict
   the claimant. Analysis conducted by Dr. Charles Bates
                                                                 awards for the entire consolidated group. Moreover,
   as part of his afﬁrmative estimation report in the Gar-
                                                                 the Assenzio consolidation and subsequent outcome(s)
   lock Sealing Technologies bankruptcy reorganization,
                                                                 for these plaintiffs correlates with Dr. Horowitz’s ﬁnd-
   estimates that each additional year of age can impact a
                                                                 ings that a lead or ‘‘target’’ plaintiff, determined by age,
   plaintiff verdict by 4%.44 Therefore, a plaintiff that        life status, or other factors, can raise the individual and
   was 60 years old when diagnosed with mesothelioma             collective values of the consolidated group.46
   would receive a 40% premium relative to a similarly
   situated plaintiff that was 70 years old when diagnosed.      Life Status
   As the data shows, the ages of the plaintiffs in NYCAL        As previously mentioned, the life status of a plaintiff
   consolidated trials are not materially different to           at trial can inﬂuence emotional decisions by jurors,
   those plaintiffs in either the NYCAL individual trials        often creating a premium for living plaintiffs related
   or other jurisdictions around the country. The 14             to non-economic and punitive awards. While the data

   Figure 7: Mesothelioma plaintiff awards for plaintiffs not living at the time of trial (2010-2014)




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previously summarized have shown that in most cases           more frequent and larger as compared to other jurisdic-
this premium is signiﬁcantly reduced when awards are          tions, the data from medical malpractice wrongful
taken up on appeal or otherwise reconsidered under a          death cases suggest that non-asbestos verdicts in New
process such as remittitur, life status can still create a    York County yield a smaller, less frequent plaintiff
material bias on jury awards in favor of living plaintiffs.   award on average when compared to other New York
That being said, since 2010, only 5 of the 14 (36%)           and US Courts.
plaintiffs that received awards in NYCAL consolidated
trials were living at the time of trial, compared to 48%      As the data indicate, the trial components that can
across plaintiff awards in other, Non-NYCAL jurisdic-         affect the value of jury awards in asbestos cases, such
tions. Therefore, it cannot be argued that NYCAL con-         as age, life status, and jurisdiction do not appear to be
solidated jury awards are justiﬁably high because a           primary causes that have inﬂuenced the signiﬁcant pre-
greater percentage of plaintiffs are living at the time       mium that plaintiffs have received under NYCAL con-
of trial. In fact, as illustrated in Figure 7, even the       solidated trial settings. Instead, the data show that the
average jury award in a NYCAL consolidated trial for          impact on NYCAL jury awards is procedural and is
deceased plaintiffs is signiﬁcantly higher than non-          created by the court-instituted practice of consolidating
NYCAL national averages.                                      cases together for trial.

Jurisdiction                                                  Judicial Economy
We also tested the notion that the NYCAL consoli-             According to the NYCAL judiciary, the primary basis
dated outcomes may be a product of an inherent set            for asbestos case consolidation has been a perceived
of procedural or jury biases towards large plaintiff          notion of judicial savings that can be achieved through
verdicts in the broader New York County judicial sys-         more expedient adjudication of cases in group settings
tem. To do so, we examined New York County wrong-             relative to individual case resolutions. Such an ex-
ful death verdicts in medical malpractice cases as            planation has been cited repeatedly by the NYCAL
compared to medical malpractice wrongful death                judges in consolidation orders, court opinions, and
verdicts from other jurisdictions both within New             other public forums.48 However, an examination of
York State and the broader United States from 2005            the trial duration for both individual and consolidated
through 2014.47 As Figure 8 illustrates, New York             trial proceedings in NYCAL shows that the Court is not
County procedures and juries do not appear to be              saving a material level of resources through consolida-
inherently biased towards the type of outlier plaintiff       tion. Figure 9 summarizes the average and median
awards observed in the NYCAL Court. Unlike NYCAL              trial duration per plaintiff that reached verdict in
consolidated plaintiff awards, which tend to be much          NYCAL since 2010.

Figure 8: Medical malpractice wrongful death verdicts




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   Figure 9: NYCAL mesothelioma trial duration per plaintiff (2010-2014)




   The verdict data show that on average a consolidated            are resolved through verdict as most cases are settled
   trial lasts 21.2 days per plaintiff as compared to 22.9         prior to trial. Therefore, if the playing ﬁeld is tilted in
   days for a plaintiff in an individual trial. For example,       one party’s favor due to a rule or procedural construct,
   the McCloskey trial consolidated three plaintiffs and           such as trial consolidation, then the resulting settle-
   lasted 113 days for an average of 38 days per plaintiff.        ments will be skewed based on risk factors that have
   This immaterial difference in trial durations between           been manufactured by the court rather than the legal
   cases adjudicated in a consolidated versus individual           merits of the individual case(s).
   trial setting dispels the notion that contemporaneous
   consolidation has been an effective cost-saving practice.       Conclusion
   Additionally, absent from the chart is the time that it         The vast disparity in NYCAL consolidated trial verdicts
   took for subsequent judicial intervention by the                relative to NYCAL individual trial verdicts and verdicts
   NYCAL Courts to correct the inequitable consolidated            observed in other jurisdictions across the country, pro-
   trial awards through the remittitur process. Moreover,          voke concern that such procedural interference is skew-
   the trial durations do not take into account the amount         ing the playing ﬁeld between litigants. The atypical
   of time that it takes to select a jury in consolidated trials   verdicts, which are currently more than three times
   relative to individual trials. Based on available appear-       the national average, shine a spotlight on constitutional
   ance data maintained by NYCAL, the average number               questions of due process and the jury bias that the
   of days needed for jury selection in a NYCAL individual         consolidation of asbestos cases seems to create against
   trial was 5.5 days,49 while the average in a NYCAL              defendants in NYCAL. Such a biased playing ﬁeld arti-
   consolidated trial was 8.8 days for jury selection.50           ﬁcially increases defendant trial risk, which not only
                                                                   leads to inequitable outcomes on the small number of
   In addition to judicial economy, the NYCAL judges               cases that go to trial, but also infects the entire pre-trial
   state that the consolidation of cases also helps to pro-        resolution process, and leads to defendants settling cases
   mote settlements between parties. However, if consoli-          at an unfair premium in order to avoid a procedurally
   dation in NYCAL is producing large, outlier verdicts            manufactured level of risk and costs.
   and violating the due process rights of defendants, then
   one could argue that consolidation is also adversely            In recent years, consolidation in NYCAL has led to a
   affecting the NYCAL settlement process. The risk of             ‘‘carousel of justice’’ in which time and time again the
   a verdict is often a primary driver affecting settlement        judiciary creates an avenue for inequitable jury awards
   values in mass tort litigation. In NYCAL, and in asbes-         through consolidation, only to correct those outcomes
   tos litigation in general, only a small percentage of cases     later through the process of remittitur. The end result


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is a system in which both plaintiffs and defendants are                        been remitted in the past ﬁve years and reduced to
effectively denied their due process rights to a jury trial                    values more typical of national outcomes, it’s easy to
and the judge ultimately determines damages through a                          see that the practice of consolidation in NYCAL is
remittitur ‘‘bench trial.’’ This circuitous path to justice                    simply not working as intended. In light of the em-
highlights the inequitable treatment of NYCAL liti-                            pirical evidence, the continued use of consolidation
gants, raises questions as to the constitutionality and                        begs the question: if consolidation is not saving mate-
efﬁciency of consolidation, and speaks to the misguided                        rial time and resources, then is consolidation worth
perception of judicial economy that is vested in the                           continuing at the risk of violating due process and pro-
current reasons behind consolidation.                                          ducing awards that don’t conform to verdicts being
                                                                               rendered in the nation’s other courts? This question
Ultimately, the practice of consolidation has made                             will need to be answered by the NYCAL judiciary if
NYCAL an outlier in today’s national asbestos litiga-                          the Court is to move back into the mainstream of
tion. Given how many consolidated jury awards have                             today’s civil tort system.

 Appendix 1: Mesothelioma NYCAL verdict case durations and remittitur (2010-2014)*
                                                                                       Trial         Trial                         Remitted or
     Verdict   Trial                                         Start of     End of      Duration    Duration per                       Appeal
      Year     Type    Lead Plaintiff     Plaintiff           Trial        Trial       (days)       Plaintiff  Jury Award           Amount
      2010       I     DIETZ              DIETZ              10/14/10    10/25/10        11             11                   $0             n/a
      2011       I     BENTON             BENTON             10/07/11    10/20/11        13             13            $2,500,000            n/a
      2012       I     ZAUGG              ZAUGG              02/21/12    03/13/12        21             21                   $0             n/a
      2013       I     VEGA               VEGA               04/18/13    05/01/13        13             13                   $0             n/a
      2014       I     CARLUCCI           CARLUCCI           03/14/14    04/24/14        41             41            $7,333,000            n/a
      2014       I     NORTH              NORTH              09/11/14    09/29/14        18             18            $7,000,000         denied
      2014       I     THIBODEAU          THIBODEAU          01/21/14    02/26/14        36             36                   $0             n/a
      2014       I     HILLYER            HILLYER            11/12/14    12/12/14        30             30           $20,000,000        pending
      2011      C      DUMMITT            DUMMITT            07/05/11    08/17/11        43             22           $32,000,000     $8,000,000
      2011      C      DUMMITT            KONSTANTIN         07/05/11    08/17/11        43             22           $19,000,000     $8,000,000
      2012      C      PAOLINI            PAOLINI            01/17/12    02/24/12        38             19                   $0             n/a
      2012      C      PAOLINI            MICHALSKI*         01/17/12    02/24/12        38             19                   $0             n/a
      2013      C      ASSENZIO           ASSENZIO           05/17/13    07/23/13        67             13           $30,000,000     $6,000,000
      2013      C      ASSENZIO           BRUNCK             05/17/13    07/23/13        67             13           $20,000,000     $3,200,000
      2013      C      ASSENZIO           LEVY               05/17/13    07/23/13        67             13           $60,000,000     $8,150,000
      2013      C      ASSENZIO           SERNA              05/17/13    07/23/13        67             13           $60,000,000     $7,500,000
      2013      C      ASSENZIO           VINCENT            05/17/13    07/23/13        67             13           $20,000,000     $5,000,000
      2013      C      PERAICA**          PERAICA            12/11/12    03/01/13        80             11           $35,000,000    $18,000,000
      2014      C      MCCLOSKEY          MCCLOSKEY          11/25/13    03/18/14        113            38            $6,000,000     $4,340,000
      2014      C      MCCLOSKEY          BROWN              11/25/13    03/18/14        113            38            $3,500,000    $0 (vacated)
      2014      C      MCCLOSKEY          TERRY              11/25/13    03/18/14        113            38            $3,000,000
      2014      C      JUNI JR.***        JUNI JR.           03/28/14    05/27/14        60             30           $11,000,000    $0 (vacated)
      2014      C      SWEBERG            SWEBERG            05/12/14    06/16/14        35             18           $15,000,000    $10,000,000
      2014      C      SWEBERG            HACKSHAW           05/12/14    06/16/14        35             18           $10,000,000     $6,000,000
 *The Paolini trial consolidated a lead mesothelioma plaintiff (Paolini) with a lung cancer plaintiff (Michalski).
 ** The Peraica trial started with 6 other plaintiffs that settled prior to verdict.
 ***The Juni Jr. trial started with 1 other plaintiff (Darryl Middleton) that settled prior to verdict




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    Appendix 2: Mesothelioma NYCAL verdict case profiles (2010-2014)

        Verdict   Trial                                                               Living
         Year     Type    Lead Plaintiff     Plaintiff              Injury    Age*    @Trial          Occupation             General Work Sites
         2010       I     DIETZ              DIETZ                  MESO        72       No      Electrician                Commercial, Shipyard

         2011       I     BENTON             BENTON                 MESO        56       No      Pipefitter                 Shipyard
                                                                                                 Bystander to               Residential
         2012       I     ZAUGG              ZAUGG                  MESO        73      Yes      residential DIY
                                                                                                 renovations
                                                                                                 Bystander/take-home        Residential
         2013       I     VEGA               VEGA                   MESO        37      Yes
                                                                                                 to construction worker
         2014       I     CARLUCCI           CARLUCCI               MESO        80       No      Truck Driver               Naval Yard, Powerhouse
                                                                                                 Laborer, Plumber,          Commercial, Industrial
         2014       I     NORTH              NORTH                  MESO        78      Yes
                                                                                                 Welder
                                                                                                 Merchant Marine,           Shipyards, Industrial
         2014       I     THIBODEAU          THIBODEAU              MESO        68      Yes
                                                                                                 Engineer
                                                                                                 Shipfitter, Steamfitter,   Shipyards, Commercial
         2014       I     HILLYER            HILLYER                MESO        71       No
                                                                                                 Welder
         2011      C      DUMMITT            DUMMITT                MESO        67      Yes      Fireman                    Naval Yard, Navy
                                                                                                 Mechanic, Laborer,         Commercial, Residential,
         2011      C      DUMMITT            KONSTANTIN             MESO        53      Yes
                                                                                                 Carpenter                  Industrial
         2012      C      PAOLINI            PAOLINI                LC          67       No      Laborer                    Industrial, Commercial

         2012      C      PAOLINI            MICHALSKI              MESO        59       No      Pipefitter                 Industrial
                                                                                                 Plumber                    Residential,
         2013      C      ASSENZIO           ASSENZIO               MESO        82       No
                                                                                                                            Commercial, Naval Yard
                                                                                                 Boilermaker,               Residential,
         2013      C      ASSENZIO           BRUNCK                 MESO        73       No      Steamfitter                Commercial,
                                                                                                                            Powerhouse
         2013      C      ASSENZIO           LEVY                   MESO        82      Yes      Plumber                    Residential, Naval Yard

         2013      C      ASSENZIO           SERNA                  MESO        59      Yes      Painter, Laborer           Commercial, Residential
                                                                                                 Steamfitter                Commercial, Residential,
         2013      C      ASSENZIO           VINCENT                MESO        86       No
                                                                                                                            Industrial, Powerhouse
         2013      C      PERAICA            PERAICA                MESO        64       No      Insulator                  Commercial

         2014      C      MCCLOSKEY          MCCLOSKEY              MESO        67       No      Steamfitter                Commercial, Industrial
                                                                                                 Insulator                  Commercial, Industrial,
         2014      C      MCCLOSKEY          BROWN                  MESO        74       No
                                                                                                                            Powerhouse
                                                                                                 Mechanic, Electrician,     Residential, Commercial,
         2014      C      MCCLOSKEY          TERRY                  MESO        63       No
                                                                                                 Construction Worker        Industrial
         2014      C      JUNI JR            JUNI JR                MESO        72       No      Mechanic, Courier          Commercial, Powerhouse

         2014      C      SWEBERG            SWEBERG                MESO        70      Yes      Electrician                Commercial
                                                                                                 Electrician, Pipefitter,   Residential, Commercial,
         2014      C      SWEBERG            HACKSHAW               MESO        73       No
                                                                                                 Carpenter                  Industrial
    *Ages were compiled using age at diagnosis when data were available, supplemented with public disclosures of plaintiff age at trial.



   Endnotes                                                                             Asbestos Verdict.’’ Mealey’s Asbestos Litigation
                                                                                        Report 30, no. 5 (2015).
   1.       In re New York Asbestos Litig., No. 40000/88 (N.Y.
            Sup. Ct., N.Y. Cnty.).                                              5.      Order to Amend Case Management Order, In re
                                                                                        New York City Asbestos Litig., No. 40000/88
   2.       Average plaintiff awards do not include punitive                            (Dec. 19, 2002).
            portions.
                                                                                6.      Id.
   3.       Of the ﬁve plaintiff awards in the NYCAL individual
            trials, one was eventually vacated on appeal.                       7.      The Amended Case Management Order is available
                                                                                        via http://www.nycal.net/PDFs/cmo/CMO_revised_
   4.       Decision and Order, Juni v. A.O. Smith Water Prods.                         052611.pdf.
            No. 190315/12 In re New York Asbestos Litigation
            Mot. Seq. no. 018 (Apr. 13, 2015); ‘‘N.Y. Justice                   8.      The NYCAL docket is available via http://www.nycal.
            Rejects Challenge to Opinion Overturning $3.5M                              net/.


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9.    New York State Uniﬁed Court System, ‘‘Hon. Peter             20.   General Court Regulation No. 2012-03, In re Mass
      Moulton Named Administrative Judge, New York                       Tort and Asbestos Programs (Ct. Com. Pl., Phila. Cnty.,
      County Supreme Court, Civil Term,’’ News release,                  Feb. 15, 2012); General Court Regulation No. 2013-
      (Mar. 2, 2015). Available at https://www.nycourts.                 01, In re Mass Tort and Asbestos Programs (Ct. Com.
      gov/press/PDFs/PR15_02.pdf.                                        Pl., Phila. Cnty. Feb. 7, 2013).

10.   Order to Amend Case Management Order, In re New              21.   Brooklyn Naval Shipyard Cases, In re New York City
      York City Asbestos Litigation, No. 40000/88,                       Asbestos Litig., 188 A.D.2d 214, 225, 593 N.Y.S.2d
      (Dec. 19, 2002).                                                   43, 50 [1st Dept.], aff’d 82 N.Y.2d 821, 605
                                                                         N.Y.S.2d 3 (1993).
11.   Scarcella, Marc C., Peter R. Kelso, and Joseph Cag-
      noli, Jr. ‘‘Asbestos Litigation, Attorney Advertising &      22.   In re All Asbestos Cases Pending in the United States
      Bankruptcy Trusts: The Economic Incentives Behind                  District Court for the District of Maryland, slip op. at
      The New Recruitment Of Lung Cancer Cases.’’ Mea-                   3 (D.Md. Dec. 16, 1983) (en banc).
      ley’s Asbestos Litigation Report 13, no. 4 (2013).
                                                                   23.   Malcolm v. National Gypsum Co., 995 F.2d 346 (2d
12.   Prohibition on ‘‘Bundling’’ Cases, Administrative                  Cir. 1993) quoting Johnson v. Celotex Corp., 899 F.2d
      Order No. 2006-6 (Mich. Aug. 9, 2006), available                   1281, 1285 (2nd Cir. 1990).
      at http://courts.michigan.gov/SUPREMECOURT/
      Resources/Administrative/2003-47-080906.pdf.                 24.   The four consolidated trials with at least one plaintiff
                                                                         living at the time of trial and one plaintiff deceased at
13.   Ohio R. Civ. P. 42(A)(2) (‘‘In tort actions involving              the time of trial include Assenzio, Peraica, Juni Jr, and
      an asbestos claim,. . . [f]or purposes of trial, the court         Sweberg. In addition, though the Dummit case
      may consolidate pending actions only with the con-                 involved two plaintiffs that were both living at the
      sent of all parties. Absent the consent of all parties,            time of trial, only one was well enough to testify at
      the court may consolidate, for purposes of trial,                  trial.
      only those pending actions relating to the same
      exposed person and members of the exposed person’s           25.   Leibold, Jill. ‘‘The Case Against Case Consolidation at
      household.’’).                                                     Trial.’’ Litigation Insights (blog), Nov. 29, 2010,
                                                                         http://www.litigationinsights.com/case-strategies/the-
14.   See Tex. Civ. Prac. & Rem. Code Ann. § 90.009                      case-against-case-consolidation-at-trial/.
      (West, Westlaw through 2011 Reg. Sess.).
                                                                   26.   Alter v. Oppenhheimer & Co. Inc., 801 N.Y.S. 2d 776
15.   See Kan. Stat. Ann. § 60-4902(j) (West, Westlaw                    (N.Y. Sup. Ct. 2005).
      through 2012 Reg. Sess.).
                                                                   27.   Horowitz, Irwin A., and Kenneth S. Bordens. ‘‘The
16.   See Ga. Code Ann. § 51-14-11 (2009).                               Consolidation of Plaintiffs: The Effects of Number
                                                                         of Plaintiffs on Jurors’ Liability Decisions, Damage
17.   Standing Order No. 1, In re Asbestos Litig., No. 77C-              Awards, and Cognitive Processing of Evidence.’’
      ASB-2 (Del. Super. Ct. New Castle County, Dec. 21,                 Journal of Applied Psychology 85, no. 6 (2000):
      2007).                                                             90918.

18.   ‘‘San Francisco Trial Judge Vacates His Own Consolida-       28.   Afﬁdavit of Dr. Irwin Horowitz, Bailen v. Air &
      tion Order,’’ HarrisMartin’s Columns – Asbestos, May               Liquid Systems Co., No. 190318\12 (In re New
      2008, at 13, 13.                                                   York City Asbestos Litig.).

19.   In re: Asbestos Personal Injury and Wrongful Death           29.   White, Michelle J. ‘‘Explaining the Flood of Asbestos
      Litig. Global, No. 24-X-87-048500, (Md. Cir. Ct.,                  Litigation: Consolidation, Bifurcation, and Bouquet
      Balt. City, Mar. 5, 2014).                                         Trial.’’ National Bureau of Economic Research


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         Working Paper No. 9362, Dec. 2002, available via                    shopping, thereby increasing the number of
         http://www.nber.org/papers/w9362.                                   ﬁlings in this Court. . .’’).

   30.   U.S. Const. Amend. 14, § 1.                                   40.   White, Michelle J., Asbestos Litigation: Procedural
                                                                             Innovations and Forum Shopping. 35 J. Legal Stud.
   31.   Bailey v. Systems Innovation, Inc., 852 F.2d 93, 98 (3d             365, 385 (June 2006); See also, Hanlon, Patrick M.
         Cir. 1988) (citing Estes v. Texas, 381 U.S. 352, 340                and Anne Smetak. ‘‘Asbestos Changes.’’ 62 N.Y.U.
         (1965)).                                                            Ann. Surv. Am. L. 525, 574 (2007).

   32.   12-16 Arden Assoc. v. Vasquez, 168 Misc.2d 475, 479,          41.   See, In re Asbestos Litig., 911 A.2d 1176, 1181 (Del.
         638 N.Y.S.2d 535 (1995) (‘‘it is black letter law that a            Super. Ct. New Castle Cnty.) (‘‘[I]t is generally
         litigant in a civil action or proceeding is entitled to a           accepted in the scientiﬁc community and among gov-
         fair trial.’’).                                                     ernment regulators that amphibole ﬁbers are more
                                                                             carcinogenic than serpentine (chrysotile) ﬁbers.’’),
   33.   Curry v. Am. Standard, 2010 WL 6501559, at *2                       appeal refused, 906 A.2d 806 (Del. 2006); Bartel v.
         (S.D.N.Y. Dec. 13, 2010) (quoting In Re Brooklyn                    John Crane, Inc., 316 F. Supp. 2d 603, 605 (N.D.
         Navy Yard Asbestos Litig., 971 F.2d 831, 853 (2d                    Ohio 2004) (‘‘While there is debate in the medical
         Cir 1992)).                                                         community over whether chrysotile asbestos is carci-
                                                                             nogenic, it is generally accepted that it takes a far
   34.   In re Repetitive Stress Injury Litig., 11 F.3d 368 (2d Cir.         greater exposure to chrysotile ﬁbers than to amphibole
         1993) (‘‘Considerations of convenience and economy                  ﬁbers to cause mesothelioma.’’), aff’d sub nom.
         must yield to a paramount concern for a fair and                    Lindstrom v. A-C Prod. Liab. Trust, 424 F.3d 488
         impartial trial.’’) (quoting, Johnson v. Celotex Corp.,             (6th Cir. 2005).
         899 F.2d 1281, 1285 (2d Cir.), cert. denied, 498
                                                                       42.   569 S.E. 409 (Va. Sup. Ct. 2002).
         U.S. 926 (1990)). See also Kranz v. National Gypsum
         Co., 995 F2d 346, 353 (2d Cir. 1993).
                                                                       43.   Id., at 427.
   35.   Beck, James M. ‘‘Little in Common: Opposing Trial
                                                                       44.   In re Garlock Sealing Technologies, No. 10-31607,
         Consolidation in Product Litigation.’’ DRI For the
                                                                             2014 Bankr. LEXIS 157 (Bankr. WDNC. February
         Defense, Sept. 11, pp. 28–29.                                       15, 2013), GST-0996, at 128.

   36.   Malcolm, 995 F.2d 346, 349 (2d Cir. 1993).                    45.   Ages were compiled using age at diagnosis when data
                                                                             were available, supplemented with public disclosures
   37.   Id. at 352.                                                         of plaintiff age at trial.

   38.   Cain v. Armstrong World Industries, 785 F. Supp. 1448         46.   Horowitz, Irwin A., and Kenneth S. Bordens. The
         (S.D. Ala. 1992); Alter v. Oppenheimer & Co. Inc., 801              Consolidation of Plaintiffs: The Effects of Number
         N.Y.S. 2d 776 (N.Y. Sup. Ct. 2005).                                 of Plaintiffs on Jurors’ Liability Decisions, ‘‘Damage
                                                                             Awards, and Cognitive Processing of Evidence.’’ Jour-
   39.   See Faulk, Richard O., Dispelling the Myths of Asbestos             nal of Applied Psychology 85, no. 6 (2000): 909–18.
         Litigation: Solutions for Common Law Courts, 44 S.
         Tex. L. Rev. 945, 954 (2003) (‘‘When plaintiffs               47.   Data includes 1,409 medical malpractice verdicts
         learn that a particular forum will coerce settlement                from 2005 through 2014, including 64 from New
         procedurally irrespective of the merits of their claims,            York County, 252 from other New York jurisdictions,
         one doubts whether that forum will remain unclogged                 and 1,093 from the other 49 states and the District of
         for long.’’); In re Asbestos Personal Injury and Wrongful           Columbia.
         Death Litig. Global, 2014 WL 895441 (Md. Cir.
         Ct. Balt. City Mar. 5, 2014) (rejecting a mass trial          48.   See, e.g., Decision/Order, Assenzio v. A.O. Smith Water
         proposal, in part, because it ‘‘could breed forum                   Products, No. 190008/12 (N.Y. Sup. Ct. Oct. 2012 In


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      Extremis) (In re New York City Asbestos Litigation),             Carlucci (11 days), Dietz (2 days), Vega (3 days),
      states:                                                          North (2 days), Hillyer (9 days), and Zaugg (6 days).
      ‘‘In asbestos litigation, it has been stated that ‘[t]he         The appearances data maintained by NYCAL did not
      joint trial format has the potential to reduce the cost          provide hearing days for jury selection for Benton, or
      of litigation, make more economical use of the trial             Thibodeau.
      court’s time and speed the disposition of cases (see
      Matter of City of Rochester, 57 A.D.2d 700, 701)           50.   Average is based on available data for 5 of the 7
      as well as to encourage settlements (see in Re: Joint            NYCAL consolidated trials between 2010 and 2014;
      E&S District Asbestos 20 Litigation [Findley v. Blin-            Dummitt (7 days), Juni Jr. (12 days), McCloskey (8
      ken], 129 Bankr 710, 815).’ ’’                                   days), Paolini (4 days), and Peraica (13 days). The
                                                                       appearances data maintained by NYCAL did not pro-
49.   Average is based on available data for 6 of the 8                vide hearing days for jury selection for Assenzio, or
      NYCAL individual trials between 2010 and 2014;                   Sweberg. I




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                                    edited by Bryan Redding
                             The Report is produced twice monthly by




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                      Telephone: (215)564-1788 1-800-MEALEYS (1-800-632-5397)
                                    Email: mealeyinfo@lexisnexis.com
                                Web site: http://www.lexisnexis.com/mealeys
                                              ISSN 0742-4647
